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 3
                                    UNITED STATES DISTRICT COURT
 4
                                SOUTHERN DISTRICT OF CALIFORNIA

 5     UNITED STATES OF AMERICA,                           Case No.: 15CR0474-BAS
 6
                                Plaintiff,
 7     v.
                                                           JUDGMENT AND ORDER OF
                                                           DISMISSAL OF INFORMATION
 8     ADRIANA GARCIA,
 9
                                Defendant.
10

11~------------------------               ________~
12
             Upon     motion   of    the    United     States   of   America            and        good             cause
13
       appearing,     the   Information in the above            entitled case is dismissed
14
       without    prejudice,        the    bond   is   exonerated     and,        if        held           by       U.S.
15
       Pretrial     Services,       Defendant's        passport      is   to          be       released                 to
16
       Defendant.
1.7
             IT IS SO ORDERED.
18
             DATED:     S-IO-7",J..Y ~
19



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21
                                                       HONORABLE RUBEN B. BROOKS
22                                                     United States Magistrate Judge

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